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                Exhibit 18
              Case 1:21-cv-00184-MW-GRJ Document 31-18 Filed 12/03/21 Page 2 of 5


Witteman, Katharine

From:                              O'Neil, David A.
Sent:                              Monday, November 01, 2021 6:02 PM
To:                                Davis, Morgan
Subject:                           Fwd: Immediate Attention – Professors Daniel Smith, Michael McDonald, and Sharon
                                   Austin


Please circulate to all


Begin forwarded message:

From: "Fuller,Ryan R" <ryanf@ufl.edu>
Date: November 1, 2021 at 6:01:23 PM EDT
To: "O'Neil, David A." <daoneil@debevoise.com>
Cc: "Hass,Amy Meyers" <amhass@ufl.edu>, Paul Donnelly <paul@donnellygross.com>
Subject: RE: Immediate Attention – Professors Daniel Smith, Michael McDonald, and Sharon Austin


Messrs. O’Neil and Donnelly,

Please accept this as the Office of General Counsel’s response to your November 1, 2021 letter to President Fuchs.

In their outside activities disclosures, Professors Daniel Smith, Sharon Austin, and Michael McDonald asked the
University for express permission to engage in compensated outside work that involved activities that are adverse to the
State of Florida. This request, and the University’s decision related to this request, is not about academic freedom. The
Professors continue to be absolutely free to engage in scholarly works and teaching. The University’s decision is also not
about First Amendment rights. The Professors remain free to speak as citizens in the same manner as anyone else. As
such, the Professors maintain the ability to engage in the activities identified in their disclosures if done on their
personal time, in their personal capacity, without the use of any University resources and without compensation.

Instead, the Professors have requested the ability to have a second income stream beyond their service to the
University. The denial of this request was made pursuant to the University’s policy related to outside activities; a policy
that was negotiated with the faculty union that represents the Professors and ratified by the faculty in the union.
University full-time faculty are paid with taxpayer dollars to work for UF. While the University allows outside activities
that don’t conflict with that commitment; UF has a responsibility to deny outside activities that do conflict.

From: O'Neil, David A. <daoneil@debevoise.com>
Sent: Monday, November 1, 2021 1:51 PM
To: President, University of Florida (Kent Fuchs) <president@UFL.EDU>
Cc: Hass,Amy Meyers <amhass@UFL.EDU>; Fuller,Ryan R <ryanf@ufl.edu>; 'Paul Donnelly' <paul@donnellygross.com>
Subject: Immediate Attention – Professors Daniel Smith, Michael McDonald, and Sharon Austin

[External Email]
Dear President Fuchs,

Please see the attached urgent correspondence.

Best,
                                                             1
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David A. O’Neil




                                              2
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                         Debevoise & Plimpton LLP
                         801 Pennsylvania Avenue, NW
                         Washington, DC 20004
                         +1 202 383 8000

                         Donnelly & Gross, PLLC
                         2421 NW 41st Street, Suite A-1
                         Gainesville, FL 32606
                         352.374.4001




November 1, 2021

BY EMAIL

Dr. W. Kent Fuchs
President, University of Florida
226 Tigert Hall
Gainsville, FL 32611
president@ufl.edu

RE: Expert Witness Ban – Professors Daniel Smith, Michael McDonald, and Sharon Austin

Dear President Fuchs:

We write on behalf of our clients, Professors Daniel Smith, Sharon Austin, and Michael McDonald
in connection with the University’s unlawful attempt to prevent them from providing truthful
testimony on a matter of extraordinary public importance.

The University has stated that it will not permit Professors Smith, Austin, and McDonald to testify
in pending litigation concerning Florida Senate Bill 90 on the ground that such testimony would
constitute a “conflict.” In particular, on October 11, the University informed Professor Smith as
the basis for its refusal that “[o]utside activities that may pose a conflict of interest to the executive
branch of the State of Florida create a conflict for the University of Florida.”

Two days later, the University stated that Professors Sharon Austin and Michael McDonald may
not testify because “UF will deny its employees’ requests to engage in outside activities when it
determines the activities are adverse to its interests. As UF is a state actor, litigation against the
state is adverse to UF’s interests.”

Our clients need and are entitled to clarity about the University’s official position with respect to
their rights. Please advise immediately if the University’s position remains that any expert
testimony by the Professors in the pending litigation would constitute a conflict.
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                                               2



If we do not receive a response by 6:00 PM EDT today, we will conclude that the University’s
position is as represented above. Thank you in advance for your prompt attention.


                                       Sincerely,



                                       David A. O’Neil
                                       DEBEVOISE & PLIMPTON LLP




                                       Paul Donnelly
                                       DONNELLY & GROSS, PLLC



CC:   Amy Haas, General Counsel
      University of Florida
      amhass@ufl.edu

      Ryan R. Fuller, Deputy General Counsel
      University of Florida
      ryanf@ufl.edu
